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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


ERIC WILLIAMS,                  )
                                )
           Plaintiff,           )
                                )
      -vs-                      )                     Case No. 16-CV-3625
                                )
CITY OF CHICAGO, CHICAGO POLICE )                     Assigned Judge: Honorable Milton I. Shadur
DEPARTMENT, and OFFICER RAPHAEL )
MITCHEM,                        )                     Designated Magistrate Judge:
                                )                     Honorable Sidney I. Schenkier
           Defendants.          )

                          SECOND AMENDED COMPLAINT
                    FOR VIOLATION OF CONSTITUTIONAL RIGHTS

       Now comes the Plaintiff, ERIC WILLIAMS, and for his Second Amended Complaint

against the Defendants, CITY OF CHICAGO and CHICAGO POLICE DEPARTMENT, states

as follows:

                                 JURISDICTION AND VENUE

       1.      This matter arises from a violation of the Plaintiff’s civil rights as protected by the

Constitution and laws of the United States pursuant to 42 U.S.C. §§ 1983, 1985 and/or 1986.

       2.      This Honorable Court has jurisdiction pursuant to 28 U.S.C. §§ 1343 and 1367.

       3.      All acts and/or omissions to act pleaded in this Amended Complaint took place

within the jurisdiction of the Northern District of Illinois Federal Courts.

                                             PARTIES

       4.      The Plaintiff, ERIC WILLIAMS, is a resident of Chicago, IL.

       5.      The Defendants are either government bodies serving the City of Chicago, or

agents or employees of the City of Chicago or Chicago Police Department.




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                                             FACTS

       6.      On or about March 19, 2014, the Plaintiff was present at or near 644 N. Lakeshore

Dr., Chicago, IL when the Defendant, Officer Raphael Mitchem, acting in his capacity as an

employee or agent of the municipal defendants, caused the Plaintiff’s arrest.

       7.      Thereafter, the Defendants, and each of them, violated the Plaintiff’s Civil Rights

in the following ways:

       a.      Maliciously prosecuted the Plaintiff for criminal charges that were subsequently

terminated in a manner that found him not guilty of the crimes alleged.

       a.      Wrongfully imprisoned the Plaintiff for criminal charges that were subsequently

terminated in a manner that found him not guilty of the crimes alleged.

       b.      While wrongfully imprisoning the Plaintiff, denied him adequate health care for

physical problems caused by injuries sustained during his arrest as well as the stress of the

wrongful imprisonment as a result of his sleeping on the floor of the cell provided, and his

inability to pay his rent. The Plaintiff also lost his gainful employment due to the wrongful

imprisonment at the hands of the Defendants.

       8.      As a result of the above violations of his civil rights by the Defendants, the

Plaintiff has sustained damages, both physically and economically.

       9.      Plaintiff further alleges that the Defendant’s wrongful acts or failures to act were

egregious and without just cause, and seeks punitive damages as a result.

       WHEREFORE, the Plaintiff, ERIC WILLIAMS, respectfully requests that this

Honorable Court enter judgment in his favor, and against the Defendants, and provide such relief

as may be appropriate, including attorney’s fees and costs as authorized by 42 U.S.C. § 1988.




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                                     Respectfully submitted,

                                     s/ John G. Foreman
                                     JOHN G. FOREMAN
John G. Foreman
Tracy, Johnson & Wilson
2801 Black Road, 2nd Floor
Joliet, Illinois 60435
Phone: (815) 723-8500
Fax: (815) 727-4846
ARDC No. 6201217
Email: jforeman@tracylawfirm.com




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